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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                           SHELLEY WATKINS,
                                   7                                                        Case No. 17-cv-06002-JCS
                                                        Plaintiff,
                                   8
                                                 v.                                         ORDER DENYING MOTION TO
                                   9                                                        DISMISS
                                           CITY OF OAKLAND, et al.,
                                  10                                                        Re: Dkt. No. 16
                                                        Defendants.
                                  11

                                  12   I.       INTRODUCTION
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                                  13            Plaintiff Shelley Watkins, a sixty-five year old man, brings this action against Defendants

                                  14   the City of Oakland (―Oakland,‖ or the ―City‖), Oakland Police Department Chief Sabrina

                                  15   Landreth, several Oakland police officers, and several Doe defendants for claims related to an

                                  16   arrest that Watkins alleges was not supported by probable cause. Defendants move to dismiss for

                                  17   failure to state a claim under Rule 12(b)(6) of the Federal Rules of Civil Procedure. The Court

                                  18   held a hearing on January 26, 2018. For the reasons discussed below, Defendants‘ motion—which

                                  19   pervasively misrepresents the allegations of Watkins‘s complaint—is DENIED.1

                                  20   II.      BACKGROUND
                                  21            A.    Allegations of the Complaint
                                  22            On October 25, 2016, Watkins drove with a companion, Donna Reed, from Sacramento,

                                  23   California to Oakland to participate in a bible study group. Compl. (dkt. 1) ¶ 19.2 When they

                                  24   arrived in Oakland they stopped at a store, Reed went inside, and Watkins waited in the car. Id.

                                  25

                                  26   1
                                         The parties have consented to the jurisdiction of the undersigned magistrate judge for all
                                  27   purposes pursuant to 28 U.S.C. § 636(c).
                                       2
                                         A plaintiff‘s factual allegations are generally taken as true on a motion to dismiss under Rule
                                  28   12(b)(6). Watkins‘s allegations are therefore summarized here as if true, but nothing in this order
                                       should be construed as resolving any issue of fact.
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                                   1   ¶¶ 20–21. Watkins asked a passerby if he had a light for a cigarette, the man gave him a book of

                                   2   matches, and Watkins stepped out of the car to light his cigarette. Id. ¶ 21. The man asked

                                   3   Watkins if he had another cigarette, and Watkins said that he did not, but gave the man some spare

                                   4   change. Id. Watkins got back into the car and waited for Reed, and when she returned several

                                   5   minutes later, Watkins drove out of the parking lot to go to the bible study meeting. Id. ¶ 23.

                                   6   Watkins neither possessed nor sold narcotics, and had no intent to engage in illegal activity. Id.

                                   7   ¶ 22.

                                   8           Defendant Officer Cedric Remo informed Defendant Officers Brandon Hraiz and William

                                   9   Berger that Remo had observed Watkins sell a controlled substance. Id. ¶ 24. After Watkins had

                                  10   driven about three blocks, Hraiz and Berger used the siren on their patrol car to pull him over. Id.

                                  11   ¶ 25. Watkins pulled over and complied with instructions to turn off the car, place the keys on the

                                  12   dashboard, step out of the car, and place his hands behind his back. Id. ¶¶ 25–26. Hraiz
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                                  13   handcuffed Watkins and instructed him to stand against the patrol car, and Watkins complied. Id.

                                  14   ¶¶ 26–27. Hraiz patted Watkins down but recovered no contraband, and then forced Watkins to sit

                                  15   handcuffed in the back seat of the patrol car. Id. ¶ 27.

                                  16           Watkins informed the officers that he was on his way to bible study, expressed frustration

                                  17   that he was detained ―for no reason,‖ and repeatedly asked why he was being detained. Id. ¶ 28.

                                  18   Hraiz informed Watkins ―that other officers had observed him selling ‗dope,‘‖ and Watkins denied

                                  19   having done so. Id. ¶ 29. Watkins explained that while waiting for Reed at the store, he had

                                  20   received a light for his cigarette and had given the man who provided the light fifty-one cents in

                                  21   change. Id. Hraiz and Berger ignored Watkins‘s explanation, did not release him, and conducted

                                  22   no further investigation of the alleged narcotics sale. Id. Hraiz and Berger thoroughly searched

                                  23   Watkins‘s car while he was detained, but recovered no contraband and only thirteen dollars. Id.

                                  24   ¶ 30.

                                  25           Hraiz and Berger arrested Watkins and drove him to the Alameda County Jail, where Doe

                                  26   defendants conducted a strip search, forcing Watkins to squat and cough while naked, which Hraiz

                                  27   and Berger observed. Id. ¶ 32. ―DOE Defendants looked in [Watkins‘s] mouth, between his legs,

                                  28   and under his testicles.‖ Id.
                                                                                         2
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                                   1          Defendants make much of one paragraph of Watkins‘s complaint describing a police

                                   2   report, which reads in full as follows:

                                   3                  In a police report, Defendant REMO stated that he had ―a clear and
                                                      unobstructed view of WATKINS from approximately 20 feet away‖
                                   4                  and that the ―surveillance was conducted during daylight hours, so
                                                      there was plenty of sunlight.‖ Defendant REMO claimed that he
                                   5                  observed a black male, Keith Williams, approach Plaintiff, and that
                                                      Plaintiff exited his vehicle. Defendant REMO fabricated that he
                                   6                  observed the two engage in a brief conversation and that Williams
                                                      had currency in his right hand. Defendant REMO falsely stated that
                                   7                  he observed Plaintiff reach into his right front jean pocket and pull a
                                                      small folded piece of paper and give it to Williams in exchange for
                                   8                  U.S. Currency. Defendants [Officers] ROWE,3 [Nathaniel]
                                                      WALKER and [Brenton] LOWE all falsely claimed that they
                                   9                  observed Plaintiff and Williams engage in a narcotics sale.
                                  10   Id. ¶ 31. Watkins alleges on information and belief that Remo, Walker, and Lowe ―knowingly,

                                  11   intentionally, and maliciously communicated false and fabricated claims to the Alameda County

                                  12   District Attorney‘s Office that they observed [Watkins] engage in a narcotics sale when in fact
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                                  13   they observed only lawful behavior by [Watkins].‖ Id. ¶ 33.

                                  14          The Alameda County District Attorney‘s Office charged Watkins with selling a controlled

                                  15   substance in violation of California Health and Safety Code section 11379(a), and Watkins was

                                  16   required to post a $30,000 bond, for which he paid a $3,000 nonrefundable deposit. Id. ¶¶ 34–35.

                                  17   He was also required to appear in court on four occasions before the Alameda County District

                                  18   Attorney‘s Office dismissed all charges against him on April 3, 2017. Id. ¶ 36. Watkins alleges

                                  19   damages including out-of-pocket costs, emotional distress, and stress-related physiological

                                  20   symptoms, as well as punitive damages and declaratory and injunctive relief. Id. ¶ 38; see also id.

                                  21   at 16–17 (prayer for relief). Watkins submitted a government tort claim to the City, which the

                                  22   City denied. Id. ¶ 13.

                                  23          Watkins‘s complaint includes the following claims: (1) violation of the right to be free

                                  24   from unreasonable search and seizure and excessive force under the Fourth and Fourteenth

                                  25   Amendments and 42 U.S.C. § 1983 against the individual defendants, Compl. ¶¶ 39–47;

                                  26   (2) Monell liability under § 1983 against the City and Landreth for failure to train, failure to

                                  27
                                       3
                                  28     There is no other reference in the complaint to anyone by the name of ―Rowe.‖ This is perhaps
                                       intended to refer to Remo.
                                                                                         3
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                                   1   supervise, and maintenance of defective policies and practices, id. ¶¶ 48–52; (3) violation of the

                                   2   rights stated above, as well as comparable rights secured by the California Constitution, under

                                   3   California Civil Code section 52.1 (the ―Bane Act‖) against all Defendants, id. ¶¶ 53–58; (4) false

                                   4   arrest, against all Defendants, id. ¶¶ 59–63; (5) false imprisonment, against all Defendants, id.

                                   5   ¶¶ 64–68; (6) intentional infliction of emotional distress, against all Defendants, id. ¶¶ 69–74;

                                   6   (7) assault and battery, against all Defendants, id. ¶¶ 75–79; and (8) negligence, against all

                                   7   Defendants, id. ¶¶ 80–84.

                                   8          B.    Parties’ Arguments
                                   9                1. Defendants’ Motion to Dismiss
                                  10          Defendants argue that Watkins‘s first § 1983 claim should be dismissed because, even

                                  11   assuming the truth of his allegations, the arrest was reasonable and supported by probable cause,

                                  12   and thus did not violate the Fourth Amendment. Mot. (dkt. 16) at 10. Defendants contend that the
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                                  13   arrest occurred after police officers ―witness[ed] exchange of money for what appeared to be a

                                  14   paper containing drugs,‖ and that ―the Officers‘ mistake does not constitution [sic] a violation of

                                  15   the Fourth Amendment.‖ Id. Defendants argue that Watkins‘s second § 1983 claim, under Monell

                                  16   v. Department of Social Services, 436 U.S. 658 (1978), also fails because ―[a]ssuming arguendo

                                  17   that the City had an unlawful practice or policy,‖ a Monell claim requires an underlying violation

                                  18   of rights pursuant to that policy or practice, and the complaint does not state such a claim because

                                  19   the arrest was reasonable. Mot. at 10–11. Defendants do not separately argue that Watkins‘s

                                  20   allegations regarding the existence of a policy or practice are insufficient. See id.

                                  21          Next, Defendants contend that the individual defendants are protected by qualified

                                  22   immunity, which ―applies ‗if [a4] reasonable officer could have believed that probable cause

                                  23   existed to arrest.‘‖ Id. at 11 (quoting Hunter v. Bryant, 502 U.S. 224, 228 (1991) (per curiam)).

                                  24   According to Defendants, because the officers ―had a clear view of what appeared to be a drug

                                  25   sale,‖ they are entitled to qualified immunity. Id. at 12. Defendants argue that the City is also

                                  26   immune under California Government Code section 815.2(b), which provides that a public entity

                                  27
                                       4
                                  28     This appears as ―an reasonable officer‖ in Defendants‘ motion, but appears correctly as ―a
                                       reasonable officer‖ in Hunter.
                                                                                        4
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                                   1   is not liable for the actions of an employee if the employee is immune from liability. Mot. at 12.

                                   2          Turning to the state law claims, Defendants rely on Shoyoye v. County of Los Angeles, 203

                                   3   Cal. App. 4th 947 (2012), for the proposition that the Bane Act requires a showing of coercion

                                   4   beyond that inherent in a wrongful arrest. Mot. at 12–13. Defendants argue that because Watkins

                                   5   asserts only that he was arrested without probable cause—and does not allege that Defendants

                                   6   used excessive force in making the arrest—his Bane Act claim must be dismissed. Id. at 13.

                                   7          Defendants contend that Watkins‘s false arrest and false imprisonment claims5 fail because

                                   8   California law provides a police officer is not liable under those theories if ―[t]he arrest was

                                   9   lawful, or the peace officer, at the time of the arrest, had reasonable cause to believe the arrest was

                                  10   lawful.‖ Id. at 13 (quoting Cal. Penal Code § 847(b)). Much like their argument regarding the

                                  11   § 1983 claim, Defendants argue that Watkins ―concedes that OPD [i.e., Oakland Police

                                  12   Department] arrest [sic] was based upon probable cause‖ because the officers ―observed the drug
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                                  13   transaction from approximately 20 feet and their view was ‗clear and unobstructed.‘‖ Id. at 14.

                                  14   As for Watkins‘s ―assault and battery‖ claim, which Defendants construe as a claim for battery as

                                  15   defined by California Penal Code section 242, Defendants note that under California law police

                                  16   officers may use reasonable force in making an arrest, and argue that Watkins has not alleged

                                  17   unreasonable force here. Id. at 14–15. Defendants argue that Watkins‘s final claim, for

                                  18   negligence, must be dismissed as to the City because California law only recognizes public entity

                                  19   liability as specifically provided by statute, and Watkins cites no statute in the context of this

                                  20   claim. Id. at 15–16.

                                  21          Finally, Defendants seek to dismiss Watkins‘s request for punitive damages. Id. at 16–17.

                                  22   The heading for this section of Defendants‘ brief states that the claim for ―punitive damages

                                  23   against the City must be dismissed because public entities are exempt from liability for punitive

                                  24   damages.‖ Id. at 16 (capitalization altered throughout). The text of that section, however,

                                  25   recognizes that Watkins ―seeks to recover punitive damages against the individual Defendants,‖

                                  26
                                  27   5
                                         Defendants state in a footnote that false arrest is not a separate tort from false imprisonment, but
                                  28   instead represents ―‗merely one way of committing a false imprisonment.‘‖ Mot. at 13 n.4
                                       (quoting Arpin v. Santa Clara Valley Transp. Agency, 261 F.3d 912, 919 (9th Cir. 2001)).
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                                   1   and argues that the allegations in this case do not ―rise to the level of evil required to justify an

                                   2   award of punitive damages.‖ Id. at 16–17. Defendants once again assert that Watkins ―concedes

                                   3   that his detention and arrest was based upon the Officers[‘] purported observation of him selling

                                   4   narcotics.‖ Id. at 17.

                                   5           Defendants do not seek dismissal of Watkins‘s negligence claim against the individual

                                   6   officers, or his claim for intentional infliction of emotional distress. See id. at 18 (listing the

                                   7   claims that Defendants seek to dismiss).

                                   8                 2. Watkins’s Opposition
                                   9           Watkins contends ―[a]s a preliminary matter‖ that ―Defendants repeatedly mischaracterize

                                  10   and ignore [his] pleadings.‖ Opp‘n (dkt. 20) at 6. He argues that Defendants, in asserting that he

                                  11   ―‗concedes‘ his arrest was based upon probable cause‖ and that the officers ―‗misunderstood‘ what

                                  12   they claim to have observed,‖ ignore his allegations that Remo, Walker, and Lowe intentionally
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                                  13   falsified their reports of what they observed. Id. at 6–7 (citing Mot. at 8, 13, 14, 17; Compl. ¶¶ 1,

                                  14   31, 33). He also argues that Defendants‘ motion fails to account for his allegations that

                                  15   Defendants continued with the arrest and detention despite finding no contraband on Watkins‘s

                                  16   person or in his vehicle. Id. at 7 (citing United States v. Ortiz-Hernandez, 427 F.3d 567, 574 (9th

                                  17   Cir. 2005), for the proposition that a person cannot be arrested or held after any previously

                                  18   existing probable case ―has dissipated‖).

                                  19           According to Watkins, those overlooked or mischaracterized allegations undermine many

                                  20   of Defendants‘ arguments for dismissal. Watkins contends that Ninth Circuit authority establishes

                                  21   that ―‗charging someone on the basis of deliberately fabricated evidence‘‖ is a clearly established

                                  22   violation of that person‘s civil rights sufficient to support a claim under § 1983 and to overcome

                                  23   qualified immunity. Id. at 7–8, 10–11 (quoting Devereaux v. Abbey, 263 F.3d 1070, 1075 (9th

                                  24   Cir. 2001)). Watkins also argues that he has alleged sufficient facts to support a claim for

                                  25   municipal liability under Monell based on the City‘s deliberate indifference to the effects of a

                                  26   custom or policy that led to the use of a fabricated report. Id. at 9–10. He contends that the lack

                                  27   of probable cause for arrest also rebuts Defendants‘ arguments as to his claims for false

                                  28   imprisonment, false arrest, and battery, because the California immunity statutes on which
                                                                                           6
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                                   1   Defendants rely only apply when an officer reasonably believes an arrest is lawful. Id. at 14–15.

                                   2   Watkins argues that his negligence claim survives because it sufficiently alleges that the City is

                                   3   liable for its employees‘ negligence, but if the Court is inclined to dismiss that claim, he requests

                                   4   leave to amend to specifically cite Government Code section 815.2, which provides for such

                                   5   liability. Id. at 15–16. He notes that he does not seek punitive damages against the City, and

                                   6   argues that allegations of intentionally fabricating a police report are sufficient to support a claim

                                   7   for punitive damages against the individual officers. Id. at 16–17.

                                   8          Watkins devotes the largest section of his opposition brief to his claim under the Bane Act.

                                   9   Id. at 11–14. He relies on Cornell v. City and County of San Francisco, 17 Cal. App. 5th 766

                                  10   (2017), a recent California Court of Appeal decision that declined ―‗to accept the premise that

                                  11   Shoyoye applies in unlawful arrest cases,‘‖ and held that rather than requiring a showing of

                                  12   coercion beyond that inherent in the arrest, ―‗the better approach . . . is to focus directly on the
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                                  13   level of scienter required to support a Section 52.1 claim, without the trappings of Shoyoye‘s

                                  14   frame of analysis.‘‖ Opp‘n at 12–13 (quoting Cornell, 17 Cal. App. 5th at 799). According to

                                  15   Watkins, his allegations here are sufficient to state a Bane Act claim within the framework of

                                  16   Cornell because he alleges that the officers intentionally deprived him of a clearly established

                                  17   right. Id. at 13–14.

                                  18                 3. Defendants’ Reply
                                  19           Defendants begin their reply brief by summarily asserting that the officers had probable

                                  20   cause to arrest Watkins:

                                  21                  Plaintiff contends that this matter arises from OPD Officers‘
                                                      mistaken observation of him selling drugs to a third party. It is this
                                  22                  alleged misunderstanding that leads to the arrest of the Plaintiff.
                                                      OPD did not use force in arresting the Plaintiff, the Officers did not
                                  23                  point a gun at Plaintiff and the Officers informed the Plaintiff at the
                                                      time of his arrest the reason for his arrest.
                                  24
                                                      Plaintiff contends that what the Officers observed was an innocent
                                  25                  transaction wherein a third party gave the Plaintiff a matchbook and
                                                      gave the Plaintiff money. Assuming Plaintiff‘s allegations are true,
                                  26                  the observations of the OPD officers constitute probable cause
                                                      giving rise to a lawful arrest. Accordingly, the Court should dismiss
                                  27                  the matter.
                                  28   Reply (dkt. 22) at 2. Aside from those two paragraphs, the remainder of Defendants‘ reply is
                                                                                          7
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                                   1   devoted to the significance of the Cornell decision on which Watkins relies for his Bane Act

                                   2   claim. See id. at 2–4. Defendants do not address the allegations that the officers falsified their

                                   3   report or the significance of their failure to find contraband after searching Watkins‘s person and

                                   4   vehicle. See generally id.; cf. Opp‘n at 6–10, 14–17 (arguing that those allegations are grounds for

                                   5   denying Defendants‘ motion).

                                   6           Defendants note that the City and County of San Francisco petitioned on December 26,

                                   7   2017 for the California Supreme Court to review the Cornell decision, the deadline for the

                                   8   Supreme Court to order review is sixty days after that filing, and if the Supreme Court does so, the

                                   9   Court of Appeal‘s decision would no longer have precedential effect and could instead be cited in

                                  10   other California courts only for its persuasive value. Reply at 2. Defendants ask that this Court

                                  11   wait until the review period has expired before relying on Cornell. Id.

                                  12           Defendants also argue that the facts of Cornell are distinguishable from the allegations in
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                                  13   this case, but although they recite the facts of Cornell, they do not clearly explain how those facts

                                  14   differ from Watkins‘s allegations or what if any differences are material for the purpose of the

                                  15   present motion. Id. at 3–4. Defendants state that ―the Cornell court distinguished Shoyoye

                                  16   because in Shoyoye the parties conceded the arrest was lawful.‖ Id. at 4. Ultimately, Defendants

                                  17   describe Cornell as having ―trie[d] to side step the holding from Shoyoye that an arrest alone is

                                  18   insufficient to trigger the Bane Act,‖ characterize its reasoning as ―flawed,‖ and ask this Court to

                                  19   ―apply the well established holdings from Shoyoye and Allen [v. City of Sacramento, 234 Cal.

                                  20   App. 4th 41 (2012)].‖ Reply at 4.

                                  21   III.    ANALYSIS
                                  22          A.     Legal Standard
                                  23           A complaint may be dismissed for failure to state a claim on which relief can be granted

                                  24   under Rule 12(b)(6) of the Federal Rules of Civil Procedure. ―The purpose of a motion to dismiss

                                  25   under Rule 12(b)(6) is to test the legal sufficiency of the complaint.‖ N. Star Int’l v. Ariz. Corp.

                                  26   Comm’n, 720 F.2d 578, 581 (9th Cir. 1983). Generally, a plaintiff‘s burden at the pleading stage

                                  27   is relatively light. Rule 8(a) of the Federal Rules of Civil Procedure states that a ―pleading which

                                  28   sets forth a claim for relief . . . shall contain . . . a short and plain statement of the claim showing
                                                                                           8
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                                   1   that the pleader is entitled to relief.‖ Fed. R. Civ. P. 8(a).

                                   2           In ruling on a motion to dismiss under Rule 12(b)(6), the court analyzes the complaint and

                                   3   takes ―all allegations of material fact as true and construe[s] them in the light most favorable to the

                                   4   non-moving party.‖ Parks Sch. of Bus. v. Symington, 51 F.3d 1480, 1484 (9th Cir. 1995).

                                   5   Dismissal may be based on a lack of a cognizable legal theory or on the absence of facts that

                                   6   would support a valid theory. Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir.

                                   7   1990). A complaint must ―contain either direct or inferential allegations respecting all the material

                                   8   elements necessary to sustain recovery under some viable legal theory.‖ Bell Atl. Corp. v.

                                   9   Twombly, 550 U.S. 544, 562 (2007) (citing Car Carriers, Inc. v. Ford Motor Co., 745 F.2d 1101,

                                  10   1106 (7th Cir. 1984)). ―A pleading that offers ‗labels and conclusions‘ or ‗a formulaic recitation

                                  11   of the elements of a cause of action will not do.‘‖ Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

                                  12   (quoting Twombly, 550 U.S. at 555). ―[C]ourts ‗are not bound to accept as true a legal conclusion
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                                  13   couched as a factual allegation.‘‖ Twombly, 550 U.S. at 555 (quoting Papasan v. Allain, 478 U.S.

                                  14   265, 286 (1986)). ―Nor does a complaint suffice if it tenders ‗naked assertion[s]‘ devoid of

                                  15   ‗further factual enhancement.‘‖ Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557)

                                  16   (alteration in original). Rather, the claim must be ―‗plausible on its face,‘‖ meaning that the

                                  17   plaintiff must plead sufficient factual allegations to ―allow[] the court to draw the reasonable

                                  18   inference that the defendant is liable for the misconduct alleged.‖ Id. (quoting Twombly, 550 U.S.

                                  19   at 570).

                                  20           In resolving the present motion, the Court limits its analysis to those issues raised in

                                  21   Defendants‘ briefs. The Court declines to resolve, sua sponte, issues that Defendants have not

                                  22   addressed, such as whether the complaint includes sufficient factual allegations regarding the

                                  23   existence of a policy or practice to state a Monell claim, or the extent to which the analysis of

                                  24   particular claims might differ with respect to the various police officers named as defendants.

                                  25   Although the Court treats the individual defendants‘ liability interchangeably for the purpose of

                                  26   the present motion, both parties should be prepared to address each particular defendant‘s role in

                                  27   Watkins‘s arrest and detention to the extent appropriate in any future summary judgment motion

                                  28   practice.
                                                                                           9
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                                   1          B.    Probable Cause for Arrest and Qualified Immunity

                                   2          Several of Watkins‘s claims turn on the question of whether Defendants reasonably

                                   3   believed there was probable cause to arrest him. The Fourth Amendment right to be free of

                                   4   unreasonable seizures—which provides the basis for Watkins‘s first claim under § 1983 and his

                                   5   second claim under § 1983 and Monell—requires as a ―general rule‖ that ―seizures are

                                   6   ‗reasonable‘ only if based on probable cause to believe that the individual has committed a crime.‖

                                   7   Bailey v. United States, 568 U.S. 186, 193 (2013) (citation and internal quotation marks omitted).

                                   8   With respect to the individual officers, the doctrine of qualified immunity would bar such a claim

                                   9   if the officers ―‗reasonably but mistakenly conclude[d] that probable cause [was] present.‘‖

                                  10   Hunter v. Bryant, 502 U.S. 224, 227 (quoting Anderson v. Creighton, 483 U.S. 635, 641 (1987)).

                                  11   With respect to Watkins‘s fourth and fifth claims, for false arrest and false imprisonment,

                                  12   Defendants argue that they are immune under Penal Code section 847, which applies where a
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                                  13   ―peace officer, at the time of the arrest, had reasonable cause to believe the arrest was lawful.‖

                                  14   See Cal. Penal Code § 847(b)(2); see also Cornell, 17 Cal. App. 5th at 788 (holding that this

                                  15   statute is ―coextensive with the doctrine of probable cause‖). As for Watkins‘s seventh claim, for

                                  16   assault and battery, Defendants cite cases holding that an officer may use reasonable force to make

                                  17   a lawful arrest. See Mot. at 15 (citing, e.g., Munoz v. City of Union City, 120 Cal. App. 4th 1077,

                                  18   1102 (2004), disapproved on other grounds by Hayes v. County of San Diego, 57 Cal. 4th 622

                                  19   (2013)). The cases on which Defendants rely for that immunity in turn rely on section 835a of the

                                  20   California Penal Code, which applies only where an officer ―has reasonable cause to believe that

                                  21   the person to be arrested has committed a public offense.‖ Cal. Penal Code § 835a; see Munoz,

                                  22   120 Cal. App. 4th at 1102 (citing § 835a). In the context of the allegations and arguments

                                  23   submitted in this case, Defendants would prevail on their motion as to each of these claims if

                                  24   Watkins‘s allegations show that there was probable cause to arrest, while Watkins would prevail if

                                  25   the allegations show that Defendants‘ lacked a reasonable belief that there was probable cause.

                                  26          Watkins is correct that Defendants mischaracterize his allegations in their arguments that

                                  27   he ―concedes‖ probable cause. Defendants‘ reliance on the paragraph summarizing Remo‘s report

                                  28   is entirely misplaced. That paragraph, which Defendants quote in full in their motion, explicitly
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                                   1   states: (1) that Remo ―fabricated‖ that he observed a conversation between Watkins and Williams

                                   2   (the passerby who gave him matches) and that Williams had currency in his hand; (2) that Remo

                                   3   ―falsely stated‖ that he observed Watkins remove a folded piece of paper from his pocket and give

                                   4   it to Williams in exchange for money; and (3) that ―ROWE‖ (presumably Remo), Walker, and

                                   5   Lowe ―falsely claimed‖ that they observed Watkins engage in a narcotics sale. See Mot. at 8–9

                                   6   (quoting Compl. ¶ 31). In a separate paragraph, Watkins further alleges that Remo, Walker, and

                                   7   Lowe ―knowingly, intentionally, and maliciously communicated false and fabricated claims to the

                                   8   Alameda County District Attorney‘s Office that they observed [Watkins] engage in a narcotics

                                   9   sale when in fact they observed only lawful behavior by [Watkins].‖ Compl. ¶ 33. Allegations

                                  10   that officers made fabricated or knowingly false statements about what they observed are not

                                  11   allegations that the conduct described in the report—i.e., Williams giving Watkins money6 in

                                  12   exchange for a folded piece of paper that Watkins took from his pocket—actually occurred, or
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                                  13   even that the officers believed that such conduct occurred. Taken as true, Watkins‘s allegations

                                  14   state the opposite: the officers knew that the report was false.7

                                  15          A seizure ―based solely on false evidence, rather than supported by probable case . . . fits

                                  16   the Fourth Amendment, and the Fourth Amendment fits [the] claim, as hand in glove.‖ Manuel v.

                                  17   City of Joliet, 137 S. Ct. 911, 917 (2017). Watkins‘s allegations that he did not sell narcotics and

                                  18   that Remo and other officers intentionally fabricated their statements that they observed Watkins

                                  19   sell narcotics, taken as true in the context of the present motion to dismiss, suffice to support a

                                  20   plausible conclusion that the arrest lacked probable cause. See Compl. ¶¶ 22, 31, 33. Moreover,

                                  21

                                  22   6
                                         Defendants also misrepresent Watkins‘s allegations in their reply, stating that ―Plaintiff contends
                                  23   that what the Officers observed was an innocent transaction wherein a third party gave the
                                       Plaintiff a matchbook and gave the Plaintiff money.‖ Reply at 2. Watkins in fact alleges that he
                                  24   gave spare change to Williams, not that Williams gave money to him. Compl. ¶ 21; see also id.
                                       ¶ 29 (alleging that Watkins told the officers that he gave Williams fifty-one cents). This
                                  25   mischaracterization, while less egregious than the baseless assertion that Watkins ―conceded‖
                                       probable cause, is still troubling in that it falsely describes the allegations of Watkins‘s complaint
                                  26   in a manner that favors Defendants‘ arguments.
                                       7
                                         Watkins‘s allegations that Remo stated he had a clear view from approximately twenty feet away
                                  27   and that the sun was shining do not characterize those statements as either true or false. See
                                       Compl. ¶ 31. Even if the Court were to infer that those statements were true, the fact that Remo
                                  28   had a clear view of the interaction tends, if anything, to support Watkins‘s position that any
                                       discrepancy between Remo‘s report and the facts as they actually occurred was intentional.
                                                                                            11
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                                   1   the Ninth Circuit has recognized ―a clearly established constitutional due process right not to be

                                   2   subjected to criminal charges on the basis of false evidence that was deliberately fabricated by the

                                   3   government,‖ such that government officials who knowingly bring such charges are not entitled to

                                   4   qualified immunity. Devereaux, 263 F.3d at 1074–75 (emphasis added).

                                   5          As discussed above, Defendants‘ only arguments for dismissal of the first, second, fourth,

                                   6   fifth, and seventh claims rely on the officers having reasonably believed that the arrest was lawful

                                   7   because Remo and the other observing officers reasonably believed that had seen Watkins sell

                                   8   narcotics. Because Watkins has plausibly alleged that the officers lacked such belief, Defendants‘

                                   9   motion is DENIED as to each of these claims.

                                  10          C.    Negligence
                                  11          Defendants argue that Watkins‘s negligence claim against the City should be dismissed

                                  12   because under California law ―a public entity is not liable for injury ‗[e]xcept as otherwise
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                                  13   provided by statute.‘‖ Mot. at 15 (quoting Cal. Gov‘t Code § 815(a)) (alteration in original).

                                  14   Watkins does not dispute that public entity liability requires a statutory basis, but ―argues that that

                                  15   his negligence cause of action should survive Defendant‘s [sic] motion because it adequately

                                  16   alleges that the City is liable for the negligence of its employees.‖ Opp‘n at 15. Watkins requests

                                  17   leave to amend to cite Government Code section 815.2 if the Court is inclined to dismiss this

                                  18   claim, id. at 15–16, and Defendants do not address this issue in their reply.

                                  19          Watkins is correct that under California law a ―public entity is [generally] liable for injury

                                  20   proximately caused by an act or omission of an employee of the public entity within the scope of

                                  21   his employment.‖ Cal. Gov‘t Code § 815.2. To the extent that Watkins states a claim for

                                  22   negligence against Oakland police officers acting within the scope of their employment—which

                                  23   Defendants do not challenge—the City is therefore also subject to liability.

                                  24          The Court declines to dismiss that claim for failure to explicitly cite section 815.2. For one

                                  25   thing, the Federal Rules of Civil Procedure ―do not countenance dismissal of a complaint for

                                  26   imperfect statement of the legal theory supporting the claim asserted‖ so long as the complaint

                                  27   includes sufficient factual allegations to support a plausible claim. Johnson v. City of Shelby, 135

                                  28   S. Ct. 346, 346 (2014) (per curiam) (reversing a decision that granted summary judgment for a
                                                                                         12
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                                   1   defendant where the plaintiffs had failed to specifically cite 42 U.S.C. § 1983 in a claim for

                                   2   violation of constitutional rights). Moreover, even if Watkins were required to cite section 815.2

                                   3   in his complaint, paragraphs 57, 62, 67, 72, and 77 of the complaint in fact do so (in the context of

                                   4   Watkins‘s other state law claims), and Watkins begins his negligence claim by stating that it

                                   5   ―incorporates by reference all of the preceding paragraphs as if each were fully alleged herein.‖

                                   6   Compl. ¶ 80. There is no basis to conclude that the City lacked notice of section 815.2, even if

                                   7   such notice were required. Defendants‘ motion is DENIED as to Watkins‘s negligence claim.

                                   8          D.     Punitive Damages
                                   9           Watkins seeks punitive damages under both § 1983 and California law. See Compl. at 17

                                  10   ¶ 2 (prayer for relief). The test for punitive damages under § 1983 borrows from common law tort

                                  11   principles, and requires that ―‗the defendant‘s conduct is shown to be motivated by evil motive or

                                  12   intent, or [that] it involves reckless or callous indifference to the federally protected rights of
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                                  13   others,‘‖ which encompasses ―malicious, wanton, or oppressive acts or omissions.‖ Dang v.

                                  14   Cross, 422 F.3d 800, 807 (9th Cir. 2005) (quoting Smith v. Wade, 461 U.S. 30 (1983)). Neither

                                  15   party argues that the test is materially different under California law. See Cal. Civ. Code

                                  16   § 3294(a) (permitting recovery of punitive damages ―[i]n an action for the breach of an obligation

                                  17   not arising from contract, where it is proven by clear and convincing evidence that the defendant

                                  18   has been guilty of oppression, fraud, or malice‖).

                                  19           At least one district court decision has held that officers who fabricated reports and

                                  20   attempted to have the plaintiff criminally prosecuted based on those reports were liable for

                                  21   punitive damages in an action under § 1983. See Knapps v. City of Oakland, 647 F. Supp. 2d

                                  22   1129, 1171–72 (N.D. Cal. 2009). Here, Defendants do not acknowledge Watkins‘s allegations

                                  23   that they knowingly falsified police reports, and do not respond to Watkins‘s arguments regarding

                                  24   punitive damages in their reply brief. Watkins‘s allegations that the individual defendants

                                  25   ―knowingly, intentionally, and maliciously communicated false and fabricated claims‖ regarding

                                  26   Watkins‘s conduct, leading to Watkins‘s arrest, strip search, and detention without probable cause,

                                  27   are sufficient to state a claim for punitive damages at least under the ―recklessness‖ and

                                  28   ―oppression‖ tests for such damages. See Dang, 422 F.3d at 810 (characterizing ―oppressive‖
                                                                                          13
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                                   1   behavior for the purpose of punitive damages as encompassing ―misuse of authority or power‖).

                                   2   Defendants‘ motion to dismiss Watkins‘s request for punitive damages is DENIED.8

                                   3          E.     “Threat, Intimidation, or Coercion” Under the Bane Act
                                   4           The parties‘ arguments with respect to Watkins‘s Bane Act claim depend on which of two

                                   5   California Court of Appeal decisions this Court chooses to follow. Watkins does not argue that

                                   6   his complaint meets the test of Shoyoye v. County of Los Angeles, 203 Cal. App. 4th 947 (2012),

                                   7   and Defendants do not meaningfully argue that the claim would warrant dismissal under the

                                   8   reasoning of Cornell v. City and County of San Francisco, 17 Cal. App. 5th 766 (2017).

                                   9                 1. Cases Considering the Bane Act’s Coercion Requirement
                                  10           Before Shoyoye, California courts had held that arrest without probable cause could in

                                  11   itself support a claim under the Bane Act. See, e.g., Gillan v. City of San Marino, 147 Cal. App.

                                  12   4th 1033, 1037 (2007) (―We conclude that there was no probable cause to arrest Gillan and thus he
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                                  13   may recover on his Civil Code section 52.1 claim.‖). The California Supreme Court considered

                                  14   the requirements for a Bane Act claim in Venegas v. County of Los Angeles, 32 Cal. 4th 820

                                  15   (2004), a case that involved a person arrested without probable cause and subsequently released

                                  16   without being charged, with no indication of excessive force or coercion beyond the arrest itself.

                                  17   Venegas, 32 Cal. 4th at 827–28. The Venegas court rejected the defendant county‘s argument that

                                  18   the Bane Act required a showing of ―discriminatory animus.‖ Id. at 841–43. The court held that

                                  19   the Bane Act ―does not extend to all ordinary tort actions because its provisions are limited to

                                  20   threats, intimidation, or coercion that interferes with a constitutional or statutory right,‖ but that

                                  21   ―imposing added limitations on the scope of section 52.1 would appear to be more a legislative

                                  22   concern than a judicial one,‖ and that the plaintiffs adequately stated a Bane Act claim for

                                  23   violations ―accompanied by the requisite threats, intimidation, or coercion.‖ Id. at 843.

                                  24           The shift to require an additional showing of coercion beyond that inherent in the arrest

                                  25   began with a federal district court decision, which looked to a Massachusetts court‘s consideration

                                  26
                                  27   8
                                         Watkins does not seek punitive damages against the City. Compl. at 10 ¶ 47; see also id. at 17
                                  28   ¶ 2 (prayer for relief). To the extent that Defendants‘ motion seeks to dismiss such a claim, see
                                       Mot. at 16 (heading addressing public entity immunity to punitive damages), it is denied as moot.
                                                                                         14
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                                   1   of an analogous law on which section 52.1 was based to determine that ―a wrongful arrest and

                                   2   detention, without more,‖ does not implicate section 52.1, which instead ―requires a showing of

                                   3   coercion independent from the coercion inherent in a wrongful detention itself.‖ Gant v. County

                                   4   of Los Angeles (―Gant I‖), 765 F. Supp. 2d 1238, 1253–54 (C.D. Cal. 2011) (citing Longval v.

                                   5   Comm’r of Corr., 404 Mass. 325 (1989)).

                                   6          The California Court of Appeal in Shoyoye followed Gant I and Longval, specifically

                                   7   stating that it ―agree[d]‖ with the statement in Gant I that the Bane Act ―‗requires a showing of

                                   8   coercion independent from the coercion inherent in a wrongful detention itself.‘‖ Shoyoye, 203

                                   9   Cal. App. 4th at 960 (quoting Gant I, 765 F. Supp. 2d at 1258). Before addressing that issue,

                                  10   however, Shoyoye also held the Bane Act ―was intended to address only egregious interferences

                                  11   with constitutional rights, not just any tort,‖ and that therefore the ―act of interference with a

                                  12   constitutional right must itself be deliberate or spiteful.‖ Id. at 958–59. That separate holding—
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                                  13   that ―mere negligence‖ is not sufficient—would have been sufficient to support the Shoyoye

                                  14   court‘s holding that a person subject to a valid arrest could not recover under the Bane Act for

                                  15   being detained for an excessive period of time due to a computer error and the negligence of jail

                                  16   personnel, without ―any additional showing of ill will or blameworthy conduct.‖ See id. at 957–

                                  17   58. Shoyoye distinguished Venegas on the basis that the evidence in that case ―could support a

                                  18   finding that the probable cause that initially existed to justify stopping the plaintiffs eroded at

                                  19   some point, such that the officers‘ conduct became intentionally coercive and wrongful, i.e., a

                                  20   knowing and blameworthy interference with the plaintiffs‘ constitutional rights.‖ Id. at 961.

                                  21          This Court addressed Shoyoye in detail in Hutton v. City of Berkeley Police Department,

                                  22   No. 13-cv-03407-JCS, 2014 WL 4674295 (N.D. Cal. Sept. 4, 2014). Examining both Venegas

                                  23   and Shoyoye, the Court held ―that Shoyoye must be read narrowly and with great care. In

                                  24   particular, the holding of the case is consistent with Venegas because, under the facts

                                  25   of Shoyoye, the detention involved only a negligent act, namely, a clerical error.‖ Id. at *17. This

                                  26   Court found no ―logical justification for the Shoyoye court‘s jump from the narrow conclusion that

                                  27   because a Fourth Amendment violation based on ordinary negligence cannot support a Bane Act

                                  28   claim, the coercion inherent in a wrongful detention is never sufficient to support a Bane Act
                                                                                          15
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                                   1   claim,‖ and construed Shoyoye‘s requirement of coercion beyond that inherent in the arrest as

                                   2   dicta. Id. Several other decision by federal district courts similarly ―limited Shoyoye to its first

                                   3   holding, that § 52.1 requires intentional interference with a constitutional right, and not merely

                                   4   negligent acts,‖ and declined to hold that, in cases involving intentional violations, the Bane Act

                                   5   ―require[s] threats, coercion, or intimidation independent from the threats, coercion, or

                                   6   intimidation inherent in the alleged constitutional or statutory violation.‖ E.g., D.V. v. City of

                                   7   Sunnyvale, 65 F. Supp. 3d 782, 789 (N.D. Cal. 2014) (considering and following ―the great weight

                                   8   of authority in the Northern District of California‖).

                                   9          Other decisions acknowledged and in some cases embraced Shoyoye‘s holding regarding

                                  10   the need for additional coercion beyond that inherent in the violation. A California Court of

                                  11   Appeal in Bender v. County of Los Angeles, 217 Cal. App. 4th 968 (2013), discussed Shoyoye but

                                  12   held that it ―need not weigh in on the question whether the Bane Act requires ‗threats, intimidation
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                                  13   or coercion‘ beyond the coercion inherent in every arrest‖ because the plaintiff in that case was

                                  14   subject to excessive force as well as an unlawful arrest. Bender, 217 Cal. App. 4th at 978–79. In

                                  15   Quezada v. City of Los Angeles, 222 Cal. App. 4th 993 (2014), a California Court of Appeal

                                  16   briefly cited Shoyoye for the proposition that ―[t]he coercion inherent in detention is insufficient to

                                  17   show a Bane Act violation,‖ going on to hold that searches supported by probable cause, a threat

                                  18   to impound a vehicle subject to a valid search warrant, and a breathalyzer test permissible as a

                                  19   condition of employment did not support a Bane Act claim. Quezada, 222 Cal. App. 4th at 1008.

                                  20   More directly on point, a Court of Appeal in Allen v. City of Sacramento reviewed Venegas,

                                  21   Shoyoye, and the Longval decision from Massachusetts, among other authority, and affirmed

                                  22   judgment for the defendant because the case ―involve[d] an allegedly unlawful arrest but no

                                  23   alleged coercion beyond the coercion inherent in any arrest.‖ Allen, 234 Cal. App. 4th at 67–70.

                                  24          The Ninth Circuit has cited Shoyoye and cases following it in two published decisions.

                                  25   First, in Gant v. County of Los Angeles (―Gant II‖), 772 F.3d 608 (9th Cir. 2014)—considering an

                                  26   appeal from the district court decision that in part inspired Shoyoye—the Ninth Circuit briefly

                                  27   addressed the requirement of ―‗coercion‘ independent from that which is inherent in a wrongful

                                  28   arrest,‖ noted that Shoyoye ―indicates that such conduct must be ‗intentionally coercive and
                                                                                         16
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                                   1   wrongful, i.e., a knowing and blameworthy interference with the plaintiffs‘ constitutional rights,‘‖

                                   2   and held that the element could be satisfied by ―officers‘ quick, insistent questioning . . . intended

                                   3   to coerce [a plaintiff] into stating that he was [the height listed in a warrant],‖ thus reversing the

                                   4   district court‘s dismissal of that plaintiff‘s Bane Act claim. Gant II, 772 F.3d at 624.9

                                   5          In Lyall v. City of Los Angeles, 807 F.3d 1178 (9th Cir. 2015), the Ninth Circuit stated that

                                   6   ―[n]umerous California decisions make clear that a plaintiff in a search-and-seizure case must

                                   7   allege threats or coercion beyond the coercion inherent in a detention or search in order to recover

                                   8   under the Bane Act.‖ Lyall, 807 F.3d at 1196 (citing Allen, 234 Cal. App. 4th 41; Quezada, 222

                                   9   Cal. App. 4th 993; Shoyoye, 203 Cal. App. 4th 947). The Lyall court distinguished Venegas and

                                  10   Bender, stating that Venegas held only that ―discriminatory animus‖ was not required and ―did not

                                  11   otherwise address what elements the Bane Act requires,‖ and that Bender ―expressly declined to

                                  12   rule on whether the Bane Act required coercion beyond the coercion inherent in any arrest‖
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                                  13   because the excessive force in that case sufficiently established additional coercion. Lyall, 807

                                  14   F.3d at 1196. The Ninth Circuit therefore affirmed in relevant part a verdict based on jury

                                  15   instructions that required proof of ―threats, intimidation, or coercion . . . independent from the acts

                                  16   inherent in the detention and search.‖ See id. at 1195. The court did not explicitly consider

                                  17   whether Shoyoye and its progeny were correctly decided or whether the California Supreme Court

                                  18   would likely follow the rule at issue. See id. at 1195–96.

                                  19          These cases set the stage for the very recent decision in Cornell, which ―do[es] not accept

                                  20   the premise that Shoyoye applies in unlawful arrest cases.‖ Cornell, 17 Cal. App. 5th at 799.

                                  21   After reviewing Shoyoye and the history and structure of the Bane Act in some depth, as well as

                                  22   touching on Bender and Allen, the Cornell court addressed the issue as follows:

                                  23                  We acknowledge that some courts have read Shoyoye as having
                                                      announced ―independen[ce] from inherent coercion‖ as a requisite
                                  24                  element of all Section 52.1 claims alleging search-and-seizure
                                                      violations, but we think those courts misread the statute as well as
                                  25                  the import of Venegas. [footnote discussing Lyall omitted] By its
                                  26
                                       9
                                  27     An accompanying memorandum disposition in Gant addressing separate claims from the
                                       published opinion also cited and applied Shoyoye‘s requirement of ―‗coercion independent from
                                  28   the coercion inherent in the wrongful detention itself.‘‖ Gant v. County of Los Angeles, 594 F.
                                       App‘x 335, 337 (9th Cir. 2014) (quoting Shoyoye, 203 Cal. App. 4th at 959).
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                                                      plain terms, Section 52.1 proscribes any ―interference with‖ or
                                   1                  attempted ―interference with‖ protected rights carried out ―by threat,
                                                      intimidation or coercion.‖ Nothing in the text of the statute requires
                                   2                  that the offending ―threat, intimidation or coercion‖ be
                                                      ―independent‖ from the constitutional violation alleged. Indeed, if
                                   3                  the words of the statute are given their plain meaning, the required
                                                      ―threat, intimidation or coercion‖ can never be ―independent‖ from
                                   4                  the underlying violation or attempted violation of rights, because
                                                      this element of fear-inducing conduct is simply the means of
                                   5                  accomplishing the offending deed (the ―interference‖ or ―attempted
                                                      interference‖). That is clear from the structure of the statute, which
                                   6                  reads, ―If a person or persons, whether or not acting under color of
                                                      law, interferes by threat, intimidation, or coercion,‖ a private action
                                   7                  for redress is available. (§ 52.1, subd. (a), italics added.)
                                   8                  In Venegas—which rejected a construction of Section 52.1 limiting
                                                      its applicability to ―threat[s], intimidation or coercion‖ against
                                   9                  minorities and other statutorily protected groups—the Supreme
                                                      Court declined to place ―added restrictions on the scope of section
                                  10                  52.1‖ beyond its plain language, concluding that that ―would appear
                                                      to be more a legislative concern than a judicial one.‖ (Venegas,
                                  11                  supra, 32 Cal.4th at p. 843, 11 Cal.Rptr.3d 692, 87 P.3d 1.) The
                                                      same may be said here. Properly read, the statutory phrase ―threat,
                                  12                  intimidation or coercion‖ serves as an aggravator justifying the
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                                                      conclusion that the underlying violation of rights is sufficiently
                                  13                  egregious to warrant enhanced statutory remedies, beyond tort relief.
                                                      We see no reason that, in addition, the required ―threat, intimidation
                                  14                  or coercion,‖ whatever form it may take, must also be
                                                      transactionally ―independent‖ from a properly pleaded—and
                                  15                  proved—unlawful arrest.
                                  16                  The phrase ―under color of law‖ indicates, without doubt, that the
                                                      Legislature intended to include law enforcement officers within the
                                  17                  scope of Section 52.1 if the requisites of the statute are otherwise
                                                      met. (See ante, fn. 16.) Much of what law enforcement officers do in
                                  18                  settings that test the limits of their authority is ―inherently coercive.‖
                                                      Given that reality, it seems to us inconsistent with an intent to bring
                                  19                  law enforcement within the scope of the statute—which is what the
                                                      phrase ―under color of law‖ does—to say, categorically, even where
                                  20                  an unlawful arrest is properly pleaded and proved, that ―where[ever]
                                                      coercion is inherent in the constitutional violation alleged, . . . the
                                  21                  statutory requirement of ‗threats, intimidation, or coercion‘ is not
                                                      met.‖ (Shoyoye, supra, 203 Cal.App.4th at p. 959, 137 Cal.Rptr.3d
                                  22                  839.) When applied to both lawful and unlawful conduct, such a
                                                      reading of Section 52.1, in effect, creates a judicially-fashioned
                                  23                  immunity; and not merely a qualified immunity, but an absolute one
                                                      covering a broad category of activity so long as it may be described
                                  24                  as ―inherently coercive.‖
                                  25   Cornell, 17 Cal. App. 5th at 799–801 (all but second alteration in original).

                                  26          The court declined to follow Longval, which it characterized as having given ―no

                                  27   consideration to the text or structure of the [Massachusetts statute at issue], much less its origin in

                                  28   federal civil rights law,‖ and held instead that where ―an unlawful arrest is properly pleaded and
                                                                                         18
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                                   1   proved, the egregiousness required by Section 52.1 is tested by whether the circumstances indicate

                                   2   the arresting officer had a specific intent to violate the arrestee‘s right to freedom from

                                   3   unreasonable seizure, not by whether the evidence shows something beyond the coercion

                                   4   ‗inherent‘ in the wrongful detention.‖ Id. at 801–02.

                                   5                2. Precedential Value of Lyall and Cornell
                                   6          Defendants here acknowledge Cornell for the first time in their reply brief, and argue that

                                   7   this Court should, if inclined to follow that case, wait until the time has elapsed for the California

                                   8   Supreme Court to decide whether to review it. Reply at 2. Neither party discusses Lyall, but as a

                                   9   published opinion of the Ninth Circuit squarely adopting the rule from Shoyoye that is at issue

                                  10   here, the significance of that case also warrants attention. The Court begins there before turning to

                                  11   Cornell.

                                  12          A Ninth Circuit panel‘s interpretation of state law is ―only binding in the absence of any
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                                  13   subsequent indication from the California courts that [its] interpretation was incorrect.‖ Owen ex

                                  14   rel. Owen v. United States, 713 F.2d 1461, 1464 (9th Cir. 1983). Such an indication can take the

                                  15   form of ―recent decisions by the California courts of appeal that have appeared subsequent to‖ the

                                  16   Ninth Circuit‘s opinion. Id.; see also In re Watts, 298 F.3d 1077, 1082–83 (9th Cir. 2002). If

                                  17   such intervening authority is present, a federal court returns to the default rules of interpreting

                                  18   state law: ―‗In the absence of a pronouncement by the highest court of a state, the federal courts

                                  19   must follow the decision of the intermediate appellate courts of the state unless there is convincing

                                  20   evidence that the highest court of the state would decide differently.‘‖ Owen, 713 F.2d at 1464

                                  21   (quoting Andrade v. City of Phoenix, 692 F.2d 557, 559 (9th Cir. 1982) (per curiam)). A federal

                                  22   court ―must use [its] best judgment to predict‖ the state supreme court‘s decision. Capital Dev.

                                  23   Co. v. Port of Astoria, 109 F.3d 516, 519 (9th Cir. 1997) (citation omitted).

                                  24          As noted above, Lyall applied Shoyoye‘s rule that coercion inherent in an arrest is not

                                  25   sufficient to support a claim under the Bane Act. See Lyall, 807 F.3d at 1195. In Cornell,

                                  26   however, a California appellate court specifically cited Lyall as a case that ―misread[s] the [Bane

                                  27   Act] statute as well as the import of Venegas,‖ and described Lyall‘s characterization of ―clear‖

                                  28   California law supporting Shoyoye as ―an overstatement.‖ Cornell, 17 Cal. App. 5th at 799 &
                                                                                         19
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                                   1   n.28. Cornell thus not only conflicts with Lyall‘s holding, but also explicitly disagrees with its

                                   2   reasoning. Id. In light of that ―indication from the California courts that [Lyall‘s] interpretation

                                   3   was incorrect,‖ Lyall does not constitute binding precedent on this issue, and this Court must

                                   4   predict how the California Supreme Court would hold. See Owen, 713 F.2d at 1464; see also

                                   5   Capital Dev., 109 F.3d at 519.

                                   6          As for the status of Cornell, Defendants are correct that if the California Supreme Court

                                   7   grants review, the Court of Appeal‘s decision would ―ha[ve] no binding or precedential effect, and

                                   8   [could] be cited for potentially persuasive value only.‖ Cal. R. Ct. 8.1115. At this time, however,

                                   9   the California Supreme Court has not granted review, and the case remains a published,

                                  10   precedential opinion of a California appellate court. Moreover, it is not obvious that the

                                  11   distinction would matter for this Court‘s purposes, because no decision by a state intermediate

                                  12   court formally binds a federal court‘s interpretation of state law. This Court‘s task is to predict
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                                  13   how the California Supreme Court would address the issue, and while federal courts will usually

                                  14   follow a consensus of state intermediate courts, they need not always do so. See Owen, 713 F.2d

                                  15   at 1464. Accordingly, whether precedential or merely persuasive within the state court system, the

                                  16   reasoning of Cornell would likely remain relevant to this Court‘s inquiry if the Court concludes

                                  17   that it is persuasive as to how the California Supreme Court would resolve the issue. Defendants

                                  18   may request reconsideration if, during the pendency of this case, the California Supreme Court

                                  19   actually decides the issue in a manner inconsistent with this order.

                                  20                3. Watkins States a Claim Under the Bane Act
                                  21          This Court concludes that the recent Cornell decision is more persuasive than Shoyoye and

                                  22   its progeny as to the coercion element of the Bane Act and better predicts how the California

                                  23   Supreme Court would interpret the statute. As discussed in Cornell, nothing in the text of the

                                  24   statute requires an additional showing of non-inherent coercion, and its prohibition of interference

                                  25   ―‗by threat, intimidation, or coercion‘‖ tends to suggest that it encompasses conduct that is

                                  26   inherently coercive, as does its inclusion of conduct ―‗under color of law,‘‖ which often involves

                                  27   some degree of inherent coercion. See Cornell, 17 Cal. App. 5th at 800 (quoting Cal. Civ. Code

                                  28   § 52.1) (emphasis added in Cornell). As far as this Court is aware, no decision of the California
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                                   1   Supreme Court suggests a contrary result, and that court‘s Venegas opinion, although not squarely

                                   2   addressing the issue, tends to support the holding of Cornell in its conclusion that a wrongful

                                   3   arrest with no element of excessive force presented ―the requisite threats, intimidation, or

                                   4   coercion,‖ as well as in its disapproval of judicially ―imposing added limitations on the scope of

                                   5   section 52.1.‖ Venegas, 32 Cal. 4th at 843; see also Cornell, 17 Cal. App. 5th at 800.

                                   6          Adopting the test from Cornell, this Court therefore holds that, to state a claim under the

                                   7   Bane Act, Watkins must plausibly allege that Defendants ―had a specific intent to violate [his]

                                   8   right to freedom from unreasonable seizure,‖ and need not allege ―something beyond the coercion

                                   9   ‗inherent‘ in the wrongful detention.‖ See Cornell, 17 Cal. App. 5th at 801–02.

                                  10          Watkins alleges that Defendants pulled him over using the siren on their patrol car, ordered

                                  11   him to turn off his car, place his keys on the dashboard, step out of the car, and place his hands

                                  12   behind his back (among other instructions), handcuffed him, arrested him, subjected him to a strip
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                                  13   search, and held him in jail. See Compl. ¶¶ 25–30, 32. Such actions by police officers are

                                  14   coercive. Although the parties do not address the intent requirement discussed in Shoyoye and

                                  15   Cornell, Watkins‘s allegations that Defendants knowingly falsified the only evidence suggesting

                                  16   that he had engaged in criminal conduct and arrested him without probable cause are sufficient at

                                  17   the pleading stage. Those allegations support a plausible inference that Defendants engaged in

                                  18   that conduct ―with the particular purpose of depriving [Watkins] of his enjoyment of the interests

                                  19   protected by‖ the Fourth Amendment right to be free of unreasonable seizure, as well as

                                  20   comparable rights under state law, which are ―clearly delineated and plainly applicable under the

                                  21   circumstances.‖ See Cornell, 17 Cal. App. 5th at 803 (citations omitted). The conduct at issue

                                  22   here is not analogous to the facts of Shoyoye, where the plaintiff‘s wrongfully prolonged detention

                                  23   resulted from the defendants‘ negligent mistake involving a computer error. Watkins‘s allegations

                                  24   therefore demonstrate coercion within the meaning of section 52.1 as interpreted by Cornell, and

                                  25   Defendants‘ motion to dismiss his Bane Act claim is DENIED.

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                                   1   IV.    CONCLUSION

                                   2          For the reasons discussed above, Defendants‘ motion is DENIED in its entirety.

                                   3          IT IS SO ORDERED.

                                   4   Dated: January 26, 2018

                                   5                                                 ______________________________________
                                                                                     JOSEPH C. SPERO
                                   6                                                 Chief Magistrate Judge
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